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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable William B. Shubb
United States District Judge
Sacramento, California

                                           RE:    Elmer Louis GEORGE
                                                  Docket Number: 2:02CR00325-03
                                                  PERMISSION TO SELL VEHICLE


Your Honor:

On January 21, 2004, Your Honor sentenced Mr. George following his plea of guilty to a
violation of 18 USC 1341 - Mail Fraud. He was sentenced to 5 months custody of the
Bureau of Prisons, to be followed by a 3 year term of supervised release. Conditions of
supervised release included a special condition that the defendant not dispose of or
otherwise dissipate any of his assets until the fine and/or restitution order by this judgment
is paid in full, unless the defendant obtains approval of the Court. Restitution was ordered
in the amount of $435,000.00.

Mr. George was released from the Bureau of Prison custody on July 23, 2004, at which
time his 3 year term of supervised release commenced. Supervision of his case was
transferred to the District of Nevada, as Mr. George had secured residence in Fallon. Mr.
George then relocated to the Southern District of California where he is presently being
supervised.

Mr. George has paid $3,096.79 toward his restitution obligation. He has an outstanding
balance of $431,903.21. The supervising probation officer in the Southern District of
California indicates that he has been making consistent restitution payments of 10% of his
income. Mr. George is requesting that he be given Court approval to sell his 1993 Dodge
Dakota pick-up truck. The probation officer does not anticipate Mr. George making more
than a "couple of hundred dollars" on the sale of the vehicle. The supervising probation
officer is requesting the Court's approval for Mr. George to sell this vehicle. Our probation
office is in concurrence with the probation officer in the Southern District of California.

Should Your Honor have any questions or concerns, the undersigned can be reached at
(916) 930-4306.



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RE:   Elmer Louis GEORGE
      Docket Number: 2:02CR00325-03
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                              Respectfully submitted,


                                /s/Glenn P. Simon
                                GLENN P. SIMON
                          United States Probation Officer

DATED:       October 27, 2006
             Sacramento, California
             GPS/cp


REVIEWED BY:       /s/Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved X

Date: October 27, 2006




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